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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KELLY PRICE,

                                Plaintiff,
                                                              15-CV-5871 (LAP)
                    -against-
                                                              CIVIL JUDGMENT
DETECTIVE LINDA SIMMONS ET AL.,

                                Defendants.

       Pursuant to the order issued December 23, 2015, dismissing the complaint,

       IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed under

28 U.S.C. § 1915(e)(2)(B)(ii).

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

       IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated: December 23, 2015
       New York, New York
